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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 06-61942-CIV-GONZALEZ
                                               (01-6095-CR-GONZALEZ)
                                      MAGISTRATE JUDGE P. A. WHITE

   WILBERT McKREITH,                  :

               Movant,                :

   v.                                 :          REPORT OF
                                              MAGISTRATE JUDGE
   UNITED STATES OF AMERICA,          :

             Respondent.          :
   ______________________________


        Wilbert McKreith, a federal prisoner presently confined at the
   United States Prison in White Deer, Pennsylvania, filed a pro se
   motion to vacate pursuant to 28 U.S.C. §2255, attacking his
   convictions and sentences imposed upon a jury verdict of guilty
   entered in Case No. 01-6095-Cr-Gonzalez.


        This    Cause    has   been   referred   to   the   undersigned   for
   consideration and report pursuant to 28 U.S.C. §636(b)(1)(B) and
   Rules 8 and 10 of the Rules Governing Section 2255 Proceedings for
   the United States District Courts.


        For its consideration of the motion, memorandum and exhibits
   in support thereof, the Court has the government’s response to an
   order to show cause, the movant’s reply, and the underlying
   criminal file.


        McKreith raises sixteen claims as follow:


               1.   He received ineffective assistance of
                    counsel when counsel failed to properly

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                    cross-examine witnesses in relation to
                    the robbery of the Commerce Bank.

              2.    He received ineffective assistance of
                    counsel when counsel failed to interview
                    or call witnesses to testify in regards
                    to the robbery of the Commerce Bank.

              3.    He received ineffective assistance of
                    counsel when counsel failed to call
                    exculpatory witnesses as promised in his
                    opening statement in regard to the First
                    Southern Bank robbery.

              4.    He received ineffective assistance of
                    counsel when counsel failed to properly
                    cross-examine witnesses in connection
                    with the robbery of the First Southern
                    Bank.

              5.    He received ineffective assistance of
                    counsel when counsel failed to properly
                    cross-examine witnesses in connection
                    with the First Southern Bank robbery.

              6.    He received ineffective assistance of
                    counsel when counsel failed to call
                    Officer Lamb to testify about what the
                    witnesses told him at the Bank of America
                    crime scene.

              7.    He received ineffective assistance of
                    counsel when counsel failed to interview
                    and call Neville Pedro and Myles Chapman,
                    exculpatory witnesses, for the Bank
                    United robbery.

              8.    He received ineffective assistance of
                    counsel when counsel failed to call
                    eyewitnesses, Michele Kobler and Sabitino
                    Santache, who described a white male
                    robber in connections with the South
                    Trust Bank robbery.

              9.    He received ineffective assistance of
                    counsel when counsel failed to call
                    favorable witnesses, whom he named in his
                    opening statement, who described a male

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                     white perpetrator for the robbery of Bank
                     of America.
               10.   He received ineffective assistance of
                     counsel when counsel failed to call
                     private investigators to rebut testimony
                     of government witnesses, Maria Morales,
                     Silvia Calvet, and Dale Martinez.

               11.   He received ineffective assistance of
                     counsel when counsel failed to call
                     investigators to offer rebuttal testimony
                     against the aforementioned government
                     witnesses.

               12.   The    government’s    suppression    of
                     exculpatory police bulletin deprived him
                     of a fair trial.

               13.   The government’s suppression of a wanted
                     flyer and news media summary deprived him
                     of a fair trial.

               14.   He received ineffective assistance of
                     counsel when counsel failed to obtain and
                     use public records, the exculpatory FBI
                     wanted flyer, and news media summary.

               15.   He received ineffective assistance of
                     counsel when counsel failed to obtain
                     public records and use them.

               16.   He received ineffective assistance of
                     counsel when counsel failed to request
                     that the latent print evidence recovered
                     at each bank be compared against the FBI
                     file of fingerprints.



        The facts as revealed in the appellate opinion are as follow,
   verbatim:


               Eight federally-insured banks located in south
               Florida were robbed between January 20, 2000
               and March 1,, 2001.     All of the robberies
               contained a similar pattern. The banks were

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              robbed by a “light-skinned black person”
              wearing a plaid shirt and ski mask.        The
              robber demanded, sometimes brandishing a gun,
              that the bank tellers place the money in a
              duffel bag the robber had carried into the
              bank with him. Several witnesses from these
              bank locations testified that the robber drove
              a maroon, burgundy or red-colored car.     The
              banks utilized security and surveillance
              cameras, which captured images of these
              robberies.

              Based on his investigation, Federal Bureau of
              Investigation Agent James Lewis developed a
              composite description of the robbery suspect
              and asked local south Florida police to “be on
              the lookout” for, among other things, a red or
              burgundy four-door Mercedes Benz with tinted
              windows.   A local police officer contacted
              Agent Lewis when he identified a vehicle
              fitting that description.    That vehicle was
              registered to McKreith.

              Agent Lewis obtained surveillance pictures of
              the robberies and showed them to Ms. Kelly
              Morris, a federal employee who had known
              McKreith for the previous year and a half and
              had visited with McKreith at his residence.
              Morris told Agent Lewis that the person in the
              picture had a similar stature (i.e., “the
              stomach sticking out”), height, and profile as
              McKreith.    She also noted that, like the
              person shown in the banks’ surveillance
              images, she had observed McKreith previously
              wearing two wrist watches.        She further
              noticed that the person depicted in the
              surveillance pictures was wearing similar
              clothes that she had noticed McKreith wearing
              in the past. Ms. Morris testified, “He always
              wore the same type of clothing, plaid shirts,
              T-shirts, black jeans and double watches.”
              She had also observed McKreith’s maroon
              Mercedes parked outside his residence when she
              had visited him. Morris ultimately identified
              the person in the surveillance pictures as
              McKreith.

              The FBI placed McKreith under surveillance and

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              followed him to a residence at 1540 N.W. 69th
              Terrace in Miami.     McKreith’s tax records
              listed that address as his residence. After
              receiving federal search warrants for both
              McKreith’s Mercedes and that residence, Agents
              Tye Sager and Lewis executed the warrants on
              April 11, 2001.     They searched for items
              connected   to   McKreith’s   suspected   bank
              robberies. The search revealed, among other
              things, “ a flannel or plaid type shirt,” two
              black ski masks, and a “vinyl black semi-
              striped bag.” A safe was also discovered in
              the master bedroom closet.     It contained a
              .380-caliber handgun, several boxes of varying
              ammunition, and three wrist watches. McKreith
              was arrested at the residence and taken to an
              FBI field office.     A search of McKreith’s
              Mercedes discovered a bag similar to the bag
              used in one of the robberies, photographs of
              McKreith depicting him simultaneously wearing
              two watches, and a settlement statement for
              McKreith’s purchase of the 1540 N.W. 69th
              Terrace residence.

              The   plaid   shirt,  manufactured   by   “Van
              Huessen,” seized from the residence was sent
              to an FBI crime lab and was analyzed by
              forensic analyst Richard Vorder Bruegge. Mr.
              Vorder Bruegge analyzed the shirt, along with
              various   videotapes   and   photographs,   to
              determine if that shirt and other articles he
              was given matched the articles worn by the
              robber in the surveillance images.      Vorder
              Bruegge   testified   that   “[a]ll   of   the
              characteristics of this shirt matched the
              class characteristics of the shirt worn by the
              bank robber in those cases that we could see
              the shirt,” which was seven of the eight
              robberies capture by surveillance images.
              Vorder Bruegge also testified that the black
              bag seized from McKreith’s residence was
              “indistinguishable” from the bag seen in the
              photos at one of the bank robberies.        He
              further testified that by examining the bank
              surveillance images, he was able to identify
              that “there are similarities” between McKreith
              and the person depicted in those images,
              including “the shape of the nose, mouth and

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                  chin.”



           A jury found McKreith guilty of seven counts of bank robbery
   and four counts of using, carrying, and brandishing a firearm in
   relation to crimes of violence.        Following a bench trial, McKreith
   was also found guilty of two counts of being a felon in possession
   of a firearm.          The Court sentenced him to a total term of 1110
   months imprisonment, followed by five years of supervised release.
   He prosecuted an appeal, and his convictions and sentences were
   affirmed in a written but unpublished opinion. (Cr. DE# 195). The
   Supreme Court denied his petition for a writ of certiorari on
   January 9, 2006.        McKreith v. United States, 546 U.S. 1129 (2006).
   This timely motion to vacate ensued.


           McKreith argues that he received ineffective assistance of
   counsel in all but two of his claims.             In order to prevail on a
   claim    of    ineffective    assistance   of   counsel,   the   movant   must
   establish:       (1)    deficient   performance    -   that   his   counsel's
   representation fell below an objective standard of reasonableness;
   and (2) prejudice - but for the deficiency in representation, there
   is a reasonable probability that the result of the proceeding would
   have been different. Strickland v. Washington, 466 U.S. 668 (1984);
   Chandler v. United States, 218 F.3d 1305 (11th Cir. 2000)(en banc).
   The standard is the same for claims of ineffective assistance on
   appeal.       Matire v. Wainwright, 811 F.2d 1430, 1435 (11 Cir. 1987).
   Moreover, prejudice in the sentencing context requires a showing
   that the sentence was increased due to counsel’s error. Glover v.
   United States, 531 U.S. 198, 203-204 (2001).


           In order to satisfy the prejudice prong, the movant must

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   demonstrate that there is        “a reasonable probability that, but for
   counsel’s unprofessional errors, the result of the proceeding would
   have been different.       Strickland, supra. at 394. In other words,
   the movant must prove “that counsel’s errors were so serious as to
   deprive the defendant of a fair trial, a trial whose result is
   reliable.” Strickland, 466 U.S. at 687; see also, Lockhart v.
   Fretwell, 506 U.S. 364, 369 (1993), citing, Kimmelman v. Morrison,
   477 U.S. 365 (1986)(“The essence of an ineffective assistance of
   counsel claim is that counsel’s unprofessional errors so upset the
   adversarial balance between defense and prosecution that the trial
   was    rendered   unfair   and   the   verdict   rendered     suspect.”).   In
   Fretwell, the Supreme Court also concluded that “an analysis
   focusing solely on mere outcome determination, without attention to
   whether the result of the proceeding was fundamentally unfair or
   unreliable, is defective. To set aside a conviction or sentence
   solely because the outcome would have been different but for
   counsel’s error may grant the defendant a windfall to which the law
   does not entitle him.” Fretwell, supra at 369, citing, United
   States v. Cronic, 466 U.S. 648, 653 (1984). The touchstone of an
   ineffective-assistance claim is the fairness of the adversary
   proceeding, and “in judging prejudice and the likelihood of a
   different outcome, ‘[a] defendant has no entitlement to the luck of
   a     lawless   decisionmaker.’”    Fretwell,    supra   at    370,   citing,
   Strickland, supra at 695.


           The Eleventh Circuit reviews an attorney’s performance with
   deference, and looks not for “what is prudent or appropriate, but
   only what is constitutionally compelled.” Hardwick v.            Crosby, 320
   F.3d 1127, 1161 (11 Cir. 2003), citing Chandler v.            United States,
   218 F.3d 1305, 1313 (11 Cir. 2000) (en banc)(When assessing a


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   lawyer’s performance, “Courts must indulge the strong presumption
   that counsel’s performance was reasonable and that counsel made all
   significant decisions in the exercise of reasonable professional
   judgment.”). The court’s role in reviewing ineffective assistance
   of counsel claims is not to “grade a lawyer’s performance; instead,
   [the court] determine[s] only whether a lawyer’s performance was
   within “the wide range of professionally competent assistance.”
   Van Poyck v. Florida Dept. of Corrections, 290 F.3d 1318, 1322 (11
   Cir.), cert. den’d,___ U.S. ___, 123 S.Ct. 70 (2002), quoting,
   Strickland v. Washington, supra at 690. Review of counsel's conduct
   is to be highly deferential. Spaziano v. Singletary, 36 F.3d 1028,
   1039    (11     Cir.   1994),   and   second-guessing    of   an   attorney's
   performance is not permitted. White v. Singletary, 972 F.2d 1218,
   1220    (11     Cir.   1992)(“Courts    should   at     the   start   presume
   effectiveness and should always avoid second-guessing with the
   benefit of hindsight.”); Atkins v. Singletary, 965 F.2d 952, 958
   (11 Cir. 1992).


          Bare and conclusory allegations of ineffective assistance of
   counsel which contradict the existing record and are unsupported by
   affidavits or other indicia of reliability, are insufficient to
   require a hearing or further consideration.           See United States v.
   Robinson, 64 F.3d 403, 405 (8 Cir. 1995), Tejada v. Dugger, 941
   F.2d 1551, 1559 (11 Cir. 1991), cert. denied, 502 U.S. 1105
   (1992)(a petitioner is not entitled to habeas corpus relief when
   his    claims    are   merely   conclusory   allegations      unsupported   by
   specifics or in the face of the record are wholly incredible);
   Ferguson v. United States, 699 F.2d 1071 (11 Cir. 1983).


          McKreith argues in his first claim that counsel rendered


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   ineffective assistance during the cross-examinations of various
   witnesses.   Specifically, he asserts that counsel should have done
   the following: 1) asked witness Marie Morales “if there was a great
   difference    between    the    complexion     of    juror     number   3     and
   [McKreith],” asked her a number of questions from a police report
   to refresh her recollection,” and use the police reports to impeach
   her testimony concerning “mask eye hole irregularities;” 2) asked
   witness Sylvia Calvet a simple question about the robber’s skin
   color, objected to the government’s leading questions, moved to
   strike answers and request mistrials based upon prosecutorial
   misconduct   during     her    testimony,    asked       questions   about    the
   information she provided regarding a gray Mercedes Benz, and
   refreshed her recollection with police reports; and, 3) cross-
   examine Agent Sager about information concerning a black ski mask
   and whether it was homemade with crooked eye holes.


        There    was   consistent      testimony       by    numerous    witnesses
   concerning the serial bank robber’s light skinned complexion and
   use of a ski mask during the robbery, and there were statements
   made by numerous witnesses describing the get away car.                     While
   counsel may not have specifically asked for a comparison of juror
   number 3's complexion to McKreith’s, he delved into the description
   of the bank robber and identification evidence during the trial.
   In light of the substantial evidence of guild, McKreith has failed
   to show that there is a reasonable probability that he would have
   been acquitted but for counsel’s perceived deficiencies during
   cross-examination of the witnesses on the points that have been
   identified in the motion to vacate.          He is not entitled to relief
   on his first claim.



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         In his second claim, McKreith argues that counsel performed
   deficiently with regard to witnesses and evidence regarding the
   robbery of the Commerce Bank.             Specifically, he alleges that 1)
   counsel failed to interview witness Mixa Triado to determine
   whether additional information could be obtained from her and that
   counsel should have called her as a witness to testify that the
   person who robbed the Commerce Bank had a dark complexion and also
   to testify about her recollection of the ski mask worn by the
   robber.    He alleges that counsel should have interviewed Gloria
   Torres to elicit additional information and to testify about her
   conversation with Officer Greaves. He further alleges that counsel
   should have interviewed Officer Greaves and elicited information
   concerning    the    ski   mask     and    interviews    he    conducted    while
   investigating the Commerce Bank robbery.                Review of the reports
   submitted as exhibits to the motion to vacate reveal that McKreith
   has credited some witnesses with the descriptions and statements of
   others.    While McKreith focuses on the testimony of the identified
   witnesses,    he    does   not    challenge     the   forensic       evidence   and
   testimony given by other witnesses.            He has not demonstrated that
   counsel, who engaged in a zealous defense of his client, performed
   deficiently or that the outcome of the trial would have been
   different but for counsel’s performance.                He is not entitled to
   relief on his second claim.


         In   his     third   claim,    McKreith    argues       that   he   received
   ineffective assistance of counsel when counsel failed to call
   Brenda Siflinger to testify that the robber was a white male or
   Jackie Gayle to testify that the robber was a white male who
   possibly fled in a Toyota. He further alleges that counsel did not
   mention Kathy Berman who purportedly witnessed the robber remove


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   his mask before exiting the bank or Jamie Militana and Greg Eaton,
   who were customers at the time of the robbery and identified the
   robber as a white male.


         Again, McKreith does not challenge the forensic evidence
   introduced against him.          Counsel did, in fact, put the robber’s
   race at issue during the course of the trial. McKreith has not
   shown a reasonable probability that the result of the trial would
   have been different but for counsel’s performance.                   He is not
   entitled to relief on his third claim.


         McKreith     argues   in    his   fourth   claim   that   he    received
   ineffective assistance of counsel when counsel failed to properly
   cross-examine witnesses in connection with the robbery of the First
   Southern Bank.      Specifically, he argues that counsel should have
   alerted the Court that Dale Martinez committed perjury when she
   testified that she never told the FBI or police that the robber was
   a mite male and that she previously stated that the robber wore a
   lumberjack shirt that was possibly made of flannel material.                 He
   maintains that counsel should have impeached Birsen Kurmanay about
   her inability to identify the race of the perpetrator and that
   counsel   failed    to   properly    cross-examine    FBI   Agent    Sager   on
   “important issues regarding witnesses’ exculpatory statements which
   he memorialized in reports.”


         None of his allegations undermine the fundamental fairness of
   his trial.       He has not overcome the strong presumption that
   counsel’s performance was reasonable.            No relief is warranted on
   this claim.



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         In   his   fifth   claim,   McKreith    argues    that   he   received
   ineffective assistance of counsel when counsel failed to call
   Police Officer Sota as a trial witness in connection with the First
   Southern Bank robbery.      He proffers that Officer Sota could have
   testified that Dale Martinez initially identified the robber as a
   white male and that she could not positively identify the shirt
   that the robber was wearing.        He further maintains that Officer
   Sota could have testified that Birsen Kurmanay could not give any
   officer a “definitive answer on the perpetrator’s race, but could
   only describe his hand as a dark olive complexion.” In his sixth
   claim, McKreith argues that counsel rendered ineffective assistance
   by failing to call Officer Lamb to testify about what the witnesses
   told him at the Bank of America crime scene.            He maintains that
   counsel should have called officer Lamb to contradict Andrea
   Fernandez’s testimony that the robber was a light skinned black
   man, instead of her initial statement that she could not identify
   the robber’s race, and her statement that the getaway car was
   “possibly” a red or maroon Mercedes.         Further, Officer Lamb could
   have testified that witness Farias never told him that the getaway
   car had a fish symbol on the bumper.


         Again, McKreith has failed to overcome the presumption that
   counsel’s performance was reasonable.         Counsel cross-examined the
   witnesses and zealously defended his client.           The jury considered
   the arguments made by counsel and acquitted McKreith on two counts
   and found him guilty on the remaining counts, so that it is clear
   that they considered the evidence and the arguments raised by
   counsel.   McKreith has not shown a reasonable probability that the
   result of the trial would have been different had counsel performed
   in the manner suggested by McKreith.         He is not entitled to relief


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   on his fifth and sixth claims.


          In   his   seventh   claim,   McKreith    argues   that   he   received
   ineffective assistance of counsel when counsel failed to interview
   and call Neville Pedro and Myles Chapman as defense witnesses to
   the Bank United robbery.        He argues that Pedro was a customer at
   the time of the robbery who observed the robbery and robber’s
   departure. Pedro described the man as a thirty-five-year-old black
   male who was 6 feet tall and 180 pounds with dreadlocks.              He faults
   counsel for failing to interview or call Pedro as a witness, since
   he was an eyewitness to the crime and the only witness in the
   position to identify the perpetrator.           He does not proffer exactly
   what Pedro would have said or provide an affidavit prepared by
   Pedro providing the substance of his proposed testimony.                    He
   further argues that counsel should have called Chapman to affirm
   Pedro’s testimony.      In his eighth claim, he complains, once again,
   about counsel’s failure to interview and subpoena witnesses to
   testify that they initially described the robber as a white male.
   He makes the same argument in his ninth claim.


          Not only was there eyewitness testimony, there was forensic
   evidence and bank videotapes which eventually lined McKreith to
   each of the bank robberies. The jury heard the evidence, including
   counsel’s cross-examinations and arguments which included questions
   concerning the robber’s race.            After consideration of all the
   evidence, the jury found the government had proven most, but not
   all,   of   the   charges   beyond   a     reasonable   doubt.    McKreith’s
   challenges to counsel’s assistance do not show that the trial was
   fundamentally unfair or that there is a reasonable probability that
   the result of the trial would have been different but for counsel’s


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   performance.      He is not entitled to relief on his seventh, eighth,
   and ninth claims.


          In his tenth claim, McKreith argues that counsel rendered
   ineffective assistance when he failed to call private investigators
   to    rebut   Maria   Morales,    Silvia   Calvet,   and    Dale   Martinez’s
   testimony concerning the bank robber’s race and skin complexion.
   He argues in his eleventh claim that counsel’s failure to call Elia
   Martinez as a witness in connection with the Bank of America
   robbery was deficient because she could have used her height to
   gauge the robbers height and possibly show that she was the same
   height as the robber, whom she supposedly stood beside during the
   robbery.      Again, none of these allegations rise to the level of
   deficient performance necessary to overrule the jury’s verdict of
   guilty in this matter.       McKreith has not shown prejudice, in that
   there is no reasonable probability that the result of the trial
   would have been different but for counsel’s advice, nor has he
   shown that his trial was fundamentally unfair.             He is not entitled
   to relief on his tenth or eleventh claims.


          In his fourteenth claim, McKreith argues that counsel rendered
   ineffective     assistance   by    failing   to   obtain     and   use   public
   records––the FBI wanted flyer and news media summary––to impeach
   eyewitness testimony and show that the authorities were initially
   looking for a white male.            There does not appear to be an
   evidentiary avenue available for entry of those documents.               He has
   not    overcome    the   strong   presumption     that   counsel    performed
   reasonably.     He is not entitled to relief on his fourteenth claim.


          Similarly, in his fifteenth and sixteenth claims, McKreith has


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   failed to show that counsel’s performance was deficient or that he
   suffered prejudice as a result. He argues that counsel should have
   introduced the testimony of Roy McKreith and Corrine McKreith to
   show that they gave him money during the eleven month period during
   which the robberies occurred.        Presumably, he believes that this
   could have overcome the government’s evidence of his numerous
   electronic    and   real   estate   purchases   of   property   for   cash.
   However, even if this evidence had been introduced, it would not
   have mandated a conclusion that that was the only money that he had
   access to during that period.         That is, he could have received
   money from the witnesses and spent the proceeds from the bank
   robberies.     He is not entitled to relief on his fifteenth and
   sixteenth claims.


         As to his remaining claims, Claims Twelve and Thirteen,
   McKreith alleges that the government suppressed certain evidence,
   which deprived him of a fair trial.       He did not raise either claim
   on direct appeal.


         There are three types of issues that a section 2255 motion
   cannot raise: (1) issues that were raised on direct appeal, absent
   a showing of changed circumstances; (2) nonconstitutional issues
   that could have been but were not raised on direct appeal; and (3)
   constitutional issues that were not raised on direct appeal, unless
   the section 2255 movant demonstrates cause for the procedural
   default as well as actual prejudice from the failure to appeal.
   Belford v. United States, 975 F.2d 310, 313 (7th Cir. 1992),
   overruled on other grounds by Castellanos v. United States, 26 F.3d
   717 (7 Cir. 1994); Graziano v. United States, 83 F.3d 587 (2d Cir.
   1996) (Collateral attack on a final judgment in a criminal case is


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   generally available under §2255 only for a constitutional error, a
   lack of jurisdiction in the sentencing court, or an error of law or
   fact that constitutes a fundamental defect which inherently results
   in complete miscarriage of justice.); United States v. Bokun, 73
   F.3d 8, 12 (2d Cir. 1995).


           McKreith argues in his twelfth claim that the government
   suppressed an exculpatory police bulletin generated by the Broward
   County Sheriff’s Office, which identified the bank robber as a
   white     male.        He   argues    in    his     thirteenth      claim      that    the
   government’s suppressed a wanted flyer and news media summary which
   also identified the bank robber as a white male or a light skinned
   black male.       The petitioner identifies himself as a black male.
   Although he identifies arguments that counsel could have made on
   his behalf as a result of those documents, he has alleged or
   demonstrated       that     the   government        violated    his    constitutional
   rights.      Thus,      those     claims    are     barred   from     review    in    this
   collateral proceeding.


           It is therefore recommended that the motion to vacate sentence
   be denied.


           Objections to this report may be filed with the District Judge
   within ten days of receipt of a copy of the report.


           Signed    in   chambers      at    Miami,    Florida,    this    16th    day    of
   November, 2007.
                                                     ______________________________
                                                     UNITED STATES MAGISTRATE JUDGE




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